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UNITED STATES DISTRICT COURT                                                     ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                    DOC #:
 ------------------------------------------------------------- X                 DATE FILED: 10/8/2021
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 UNITED STATES OF AMERICA,                                     :
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                              -v-                              :
                                                               :           1:18-cr-696-GHW
                                                               :
 FREDDIE MCGRIER,                                              :               ORDER
                                                               :
                                               Defendant. :
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GREGORY H. WOODS, United States District Judge:

         The Court has received the parties’ October 7, 2021 status letter the Court. Dkt. No. 61.

From that letter, the Court understands that the Government is working with New York State to

secure a writ for the remand of Mr. McGrier to state custody. Accordingly, this matter is

adjourned until January 5, 2022. The parties are instructed to submit a joint status letter no later

than January 5, 2022 informing the Court of the status of Mr. McGrier’s New York State Court

proceedings and how the parties plan to proceed in this case.
SO ORDERED.
                                                               __________________________________
Dated: October 8, 2021                                                GREGORY H. WOODS
       New York, New York                                            United States District Judge
